 

Case 1:09-cv-10429-VSB Document 80 Filed 09/30/15 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOHN RAPILLO AND HEIDI RAPILLO

Plaintiffs,

. FILED BY ECF
~against-

BARRY FINGERHUT, DAVID HOLZER,
FINGERHUT-HOLZER PARTNERS LLC,
FINGERHUT-HOLZER EQUITIES, INC.,
FINGERHUT HOLZER, INC., FINGERHUT-
HOLZER FUND L.P., GEO-CAPITAL
PARTNERS, INC., FINGERHUT-HOLZER
THE WAVERYLY I, LLC., FINGERHUT-
HOLZER THE WAVERYLY II, LLC,

09-CV-10429 (VSB)

DECLARATION OF ROBERT J.
CONWAY IN OPPOSITION TO
DEFENDANTS’ SUMMARY
JUDGMENT MOTION

Defendants.
--- - X

 

Pursuant to 28 U.S.C. § 1746, Robert J. Conway declares under penalty of perjury that
the foregoing is true and correct:

1. Tam an attorney duly admitted to practice law in the State of New York and am a
member of the bar of this Court. | am a partner of the law firm of Marshall, Conway & Bradley,
P.C., attorneys for plaintiff, John Rapillo and Heidi Rapillo (collectively “Rapillos”). I have
personal knowledge of the facts set forth herein and submit this declaration in opposition to
Barry Fingerhut (“Fingerhut”), David Holzer (“Holzer), Fingerhut-Holzer Partners LLC
(“Fingerhut-Holzer LLC”), Fingerhut-Holzer Equities, Inc., Fingerhut Holzer, Inc., Fingerhut-
Holzer Fund L.P., Geo-Capital Partners, Inc. (“Geo-Capital’”), Fingerhut-Holzer The Waverly I,
LLC. (“Waverly I’), Fingerhut-Holzer The Waverly II, LLC.’s (“Waverly HT”) (collectively
Defendants”) motion for summary judgment against the Rapillos.

2. Annexed hereto as Exhibit 1 is a true, correct, and complete copy of Plaintiffs’

Amended Verified Summons and Complaint, filed on August 10, 2010.

 
 

Case 1:09-cv-10429-VSB Document 80 Filed 09/30/15 Page 2 of 4

3. Annexed hereto as Exhibit 2 is Defendants’ Verified Answer to the Amended
Complaint, dated March 21, 2011.

4. Annexed hereto as Exhibit 3 is Defendant, David Holzer’s letter constituting
Holzer’s Answer, dated February 4, 2010.

5. Annexed hereto as Exhibit 4 is a true, correct, and complete copy of the transcript
from the deposition of Barry Fingerhut, dated February 7, 2013.

6. Annexed hereto as Exhibit 5 is a true, correct, and complete copy of the transcript
from the deposition of David Holzer, dated March 28, 2012

7. Annexed hereto as Exhibit 6 is a notarized affidavit signed by John Rapillo, dated
September 23, 2015.

8. Annexed hereto as Exhibit 7 is a notarized affidavit signed by Heidi Rapillo,
dated September 23, 2015.

9, Annexed hereto as Exhibit 8 is a document showing the transfer of $300,000.00
from the Rapillos to Foley & Lardner, dated October 19, 2015.

10. Annexed hereto as Exhibit 9 is a document showing the transfer of $600,000.00
from the Rapillos to David & Leslie Holzer dated December 15, 2005.

11. Annexed hereto as Exhibit 10 is a document showing the transfer of $200,000.00
from the Rapillos to David & Leslie Holzer dated January 31, 2006.

12. Annexed hereto as Exhibit 11 is a document showing the transfer of $800,000.00
from the Rapillos to David & Leslie Holzer dated March 23, 2006.

13. Amnnexed hereto as Exhibit 12 Contingent Assignment of Equity Interests

Agreement, entered into between Holzer and Fingerhut, dated October 3, 2007.

 
 

Case 1:09-cv-10429-VSB Document 80 Filed 09/30/15 Page 3 of 4

14. Annexed hereto as Exhibit 13 is a Secured Promissory Note in the amount of
$7,603,800 between Fingerhut and Holzer dated October 9, 2007.

15. Annexed hereto as Exhibit 14 is a Fingerhut-Holzer Partners Introduction to the
Waverly at Deerwood Commons.

16. Annexed hereto as Exhibit 15 is a the Schedule of Fingerhut-Holzer Investments

17, Annexed hereto as Exhibit 16 is a true, correct, and complete copy of transcript
from David Hoizer’s appearance before Judge Thomas Farber regarding his guilty plea in the
related criminal action, dated April 30, 2009.

18,  Annexed hereto as Exhibit 17 is a the 2005 Schedule K~1 issued to the Rapillos
by Fingerhut-Holzer Partners for The Waverly I.

19, Annexed hereto as Exhibit 18 is a the 2007 Schedule K-1 issued to the Rapillos
Fingerhut Management The Waverly, LLC.

20,  Annexed hereto as Exhibit 19 is the Fingerhut-Holzer Fund, L.P. Limited
Partnership Agreement, dated October 1, 2004.

21. Annexed hereto as Exhibit 20 is a letter from Fingerhut to Heidi Rapillo, dated
November 7, 2008.

22.  Annexed hereto as Exhibit 21 is the SEC filing showing the transfer of V.

Campus Corp. shares to Fingerhut, dated January 25, 2008.

 
 

Case 1:09-cv-10429-VSB Document 80 Filed 09/30/15 Page 4 of 4

Dated: New York, New York
September 30, 2015

TO: FOLKENFLIK & MCGERITY
Attorneys for Defendants
1500 Broadway — 21st Floor
New York, New York 10036
(212) 757-0400
File No.:11-AD-661 BJM

DAVID HOLZER

c/o Pamela Lustig

500 Kappock Street
Bronx, New York 10463

MARSHALL, CONWAY,
& BRADLEY, P.C.

45 Broadway — Suite 740
New York, NY 10038
(212) 619-4444

Attorneys for Plaintiff
John Rapillo and Heidi Rapillo .4

oy

 

wy katt ¥ Coney
Robert J. Conway (RIC=2373)... \
wa “ wand

 
